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                                 ** CIVIL MOTION MINUTES **

Date: 11/04/2016                           Before the Honorable: T.S. ELLIS, III

Time: 10:56AM-11:51AM (00:55)              Civil Case No.: 1:16-CV-01031-TSE-MSN

Official Court Reporter: Tonia Harris

Courtroom Deputy: Margaret Pham


STEVEN KNURR

v.

ORBITAL ATK INC. et al


Appearances of Counsel for:

( X ) Movants: Craig C. Reilly, Jim Barz, Dani Myers
               Susan R. Podolsky, Naumon Amjed, Francis P. McConville, George Hopkins
( X ) Defendant: Lyle Roberts
( ) Other:

Re:    Motion [7] for Appointment of Lead Plaintiff
       Motion [11] to Appoint Counsel and for Appointment as Lead Plaintiff
       Motion [11] for Appoint as Lead Plaintiffs


Argued and:

( ) Granted             ( ) Denied         ( ) Granted in part/Denied in part

( X ) Taken Under Advisement               ( ) Continued to

( ) Report and Recommendation to Follow

( X ) Order to Follow
